      CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 1 of 18




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 SANDUSKY WELLNESS CENTER, LLC,                   Case No. 12‐CV‐2066 (PJS/HB)
 an Ohio limited liability company,
 individually and as the representative of
 a class of similarly‐situated persons,
                                                              ORDER
                     Plaintiff,

 v.

 MEDTOX SCIENTIFIC, INC., MEDTOX
 LABORATORIES, INC., and JOHN
 DOES 1‐10,

                     Defendants.


       Glenn L. Hara, Brian J. Wanca, Ryan M. Kelly, and Wallace C. Solberg,
       ANDERSON + WANCA; Garrett D. Blanchfield, Jr., and Brant D. Penney,
       REINHARDT WENDORF & BLANCHFIELD, for plaintiff.

       Robert I. Steiner and Geoffrey W. Castello, III, KELLEY DRYE & WARREN LLP;
       Jeffrey R. Mulder and Lewis A. Remele, Jr., BASSFORD REMELE, P.A., for
       defendants.

       Defendants MedTox Scientific, Inc. and MedTox Laboratories, Inc. (collectively,

“MedTox”) faxed an unsolicited advertisement to plaintiff Sandusky Wellness Center,

LLC (“Sandusky”). In response, Sandusky filed this putative class action under the

Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227. Sandusky now moves

to certify a class of 3,256 persons who received the fax, ECF No. 229, and MedTox

moves to dismiss Sandusky’s lawsuit for lack of standing, ECF No. 234. For the reasons
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 2 of 18




that follow, the Court grants Sandusky’s motion to certify and denies MedTox’s motion

to dismiss.

                                    I. BACKGROUND

       Sandusky is a medical clinic in Ohio. Winnestaffer Dep. 10, 24 [ECF No. 205‐2].

Its owner, Gregg Winnestaffer, is a chiropractor, but the clinic offers more than just

chiropractic services. Id. at 20‐21, 23‐24, 35, 39‐40. During the time period relevant to

this litigation, Dr. Bruce Montgomery, a family practitioner, saw patients at Sandusky

one day per week. Montgomery Dep. 7, 16‐17, 21‐22 [ECF No. 205‐6].

       MedTox is a toxicology laboratory in Minnesota. Huffer Decl. ¶ 4 [ECF No. 176].

MedTox provides a lead‐testing service that it markets to pediatricians and other

doctors who work with children. Huffer Dep. 13‐16, 44 [ECF No. 205‐4]; see also

Montgomery Dep. 36 (describing the dangers that lead poses to children). MedTox’s

lead‐testing service requires a doctor to draw only two drops of blood from a patient

(instead of a whole ampule). See ECF No. 205‐1; Montgomery Dep. 38‐40. This makes

MedTox’s lead‐testing service less invasive than many other forms of lead testing.

       In February 2012, MedTox faxed a one‐page advertisement to 3,256 healthcare

providers touting its lead‐testing service. Huffer Decl. ¶¶ 7‐10, 16‐17; see also ECF

No. 205‐1 (reproducing the fax advertisement). One of these faxes made its way to

Sandusky. The fax was intended for Montgomery (the part‐time family doctor), see



                                            -2-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 3 of 18




Huffer Decl. ¶¶ 7‐10, 13‐15, but the fax was not specifically addressed to Montgomery,

see ECF No. 205‐1, and Montgomery never actually saw the fax, see Montgomery Dep.

38. Instead, a Sandusky employee picked up the fax and brought it to Winnestaffer,

who read it and mailed it to his attorney. Winnestaffer Dep. 76‐81, 128. This lawsuit

followed.

       In this lawsuit, Sandusky claims that MedTox’s unsolicited fax violated the

TCPA because it was sent without “a proper opt‐out notice” and without the recipients’

“permission or invitation.” Am. Compl. ¶¶ 14‐17 [ECF No. 174]. Sandusky claims that

MedTox’s violation of the TCPA harmed it in at least four ways: First, MedTox’s fax

tied up Sandusky’s fax line, preventing Sandusky from receiving other faxes or

processing credit‐card payments (which “run[] through the fax machine”).

Winnestaffer Dep. 75‐76, 81‐83. Second, MedTox’s fax wasted Sandusky’s paper and

ink. Id. at 74, 76, 83‐84. Third, MedTox forced Sandusky’s employees to waste time

processing, reviewing, and disposing of the unwanted fax. Id. at 76‐77, 84. And fourth,

MedTox’s fax “interrupted the Plaintiff’s and other class members’ privacy interests in

being left alone.” Am. Compl. ¶ 29; see also id. ¶ 3.

                              II. PROCEDURAL HISTORY

       Three years ago, Sandusky moved to certify a class of “persons who were sent

advertisements by fax about products or services offered” by MedTox. ECF No. 162



                                             -3-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 4 of 18




at 1; see also ECF No. 165 at 8 (proposing a narrower class definition). Senior Judge

David S. Doty denied Sandusky’s motion for class certification on the grounds that the

proposed class was not ascertainable. ECF No. 188 at 7‐10. Judge Doty also questioned

the commonality of the asserted claims and the adequacy of the proposed class

representative and class counsel. Id. at 10 n.4.

       On appeal, the United States Court of Appeals for the Eighth Circuit reversed the

denial of class certification. Sandusky Wellness Ctr., LLC v. MedTox Sci., Inc., 821 F.3d

992, 998 (8th Cir. 2016). The Eighth Circuit held that the proposed class was

ascertainable. Id. at 995‐98. It also held that the proposed class met the commonality

and predominance requirements for class certification. Id. at 998. It then remanded the

case for further proceedings. Id.

       On remand, the case was reassigned to the undersigned, ECF Nos. 223, 225, and

Sandusky renewed its motion for class certification, ECF No. 229. MedTox responded

by moving to dismiss the case for lack of standing. ECF No. 234.

                                      III. STANDING

                                    A. Standard of Review

       The requirement of standing is rooted in the fact that Article III of the United

States Constitution limits the power of federal courts to “cases” or “controversies.” U.S.

Const. art. III, § 2. No “case” or “controversy” exists unless (1) the plaintiff has suffered



                                             -4-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 5 of 18




a “concrete and particularized” injury; (2) the plaintiff’s injury “is fairly traceable” to

the defendant’s actions; and (3) the plaintiff’s injury is “likely to be redressed by a

favorable decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547‐48 (2016).

       A defendant’s motion to dismiss a claim for lack of standing can be treated as

either a “facial attack” or a “factual attack” on jurisdiction. Carlsen v. GameStop, Inc., 833

F.3d 903, 908 (8th Cir. 2016) (citation omitted). When addressing a facial attack, a court

must restrict itself to the face of the pleadings and accept all of the plaintiff’s allegations

as true. Id. When addressing a factual attack, a court may consider matters outside of

the pleadings and weigh the evidence. Id. Here, the Court will construe MedTox’s

motion to dismiss as a factual attack on jurisdiction, and the Court will consider

deposition testimony and other evidence in the record.

                                         B. Analysis

       MedTox argues that Sandusky lacks standing under the Supreme Court’s recent

decision in Spokeo. But Spokeo simply held that a “bare procedural violation” of a

statutory right—“divorced from any concrete harm”—is not sufficient to establish

Article III standing. Spokeo, 136 S. Ct. at 1549. Here, however, Sandusky alleges that

MedTox’s violation of the TCPA created several types of concrete harm. Specifically,

Sandusky alleges that MedTox’s illegal act disrupted Sandusky’s business by tying up




                                              -5-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 6 of 18




its fax line, wasted Sandusky’s paper and ink, and wasted the time of Sandusky’s

employees.1

       Not surprisingly, the “vast majority” of post‐Spokeo TCPA cases “have concluded

that the invasion of privacy, annoyance and wasted time associated with robocalls is

sufficient to demonstrate concrete injury.” Abante Rooter & Plumbing, Inc. v. Pivotal

Payments, Inc., No. 16‐CV‐05486‐JCS, 2017 WL 733123, at *6 (N.D. Cal. Feb. 24, 2017)

(collecting cases). Indeed, most courts find that the receipt of even one unwanted call

“is [generally] enough to clear Article III’s low bar for a concrete injury.” Ung v.

Universal Acceptance Corp., 198 F. Supp. 3d 1036, 1039 (D. Minn. 2016). Similarly,

unwanted faxes harm the plaintiff by “occup[ying] his fax line and machine, us[ing] his

toner and paper, and wast[ing] his time.” Brodsky v. HumanaDental Ins., No.



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        Because Sandusky suffered a tangible injury, the Court need not decide whether
the intangible injury that Sandusky allegedly suffered when its privacy was invaded by
the unsolicited fax is sufficient to establish standing. Compare Van Patten v. Vertical
Fitness Group, LLC, 847 F.3d 1037, 1042‐43 (9th Cir. 2017) (concluding that the receipt of
an unsolicited call or text from a telemarketer is enough to establish Article III standing
as a nuisance and an invasion of privacy), Potocnik v. Carlson, No. 13‐CV‐2093, 2016 WL
3919950, at *3 (D. Minn. July 15, 2016) (noting that an invasion of privacy can establish
Article III standing even if it would not be actionable “under the common law of any
particular jurisdiction”), and Brodsky v. HumanaDental Ins., No. 1:10‐CV‐03233, 2016 WL
5476233, at *11 (N.D. Ill. Sept. 29, 2016) (stating that “[a] claim under the TCPA for
unwanted fax messages . . . is roughly analogous to a claim at common law for
conversion”), with Fauley v. Drug Depot, Inc., 204 F. Supp. 3d 1008, 1012 (N.D. Ill. 2016)
(holding that the receipt of an unwanted fax by a business cannot establish Article III
standing as an intangible injury because “businesses do not have privacy interests in
seclusion or solitude”).

                                            -6-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 7 of 18




1:10‐CV‐03233, 2016 WL 5476233, at *11 (N.D. Ill. Sept. 29, 2016); see also Fauley v. Drug

Depot, Inc., 204 F. Supp. 3d 1008, 1011 (N.D. Ill. 2016) (same).

       The handful of TCPA cases that MedTox cites to the contrary can easily be

distinguished. For example, in Stoops v. Wells Fargo Bank, N.A., 197 F. Supp. 3d 782

(W.D. Pa. 2016), the plaintiff “purchased at least thirty‐five cell phones . . . for the [sole]

purpose of filing lawsuits under the [TCPA].” Id. at 788. The plaintiff admitted that she

did not use these cell phones for any purpose except to fish for telemarketing calls. The

court concluded that the plaintiff did not suffer a concrete injury when she got exactly

what she sought—telemarketing calls. See id. at 795‐803. Here, by contrast, Sandusky

did not purchase a fax machine for the sole purpose of drumming up TCPA litigation.

Instead, Sandusky used its fax machine for many business purposes, such as to process

credit‐card payments and to send and receive prescriptions and other “pertinent

information.” Winnestaffer Dep. 75‐76, 114‐15.

       Two of the cases on which MedTox relies were pleading cases, not standing

cases. In Sartin v. EKF Diagnostics, Inc., No. CV 16‐1816, 2016 WL 3598297 (E.D. La.

July 5, 2016), “the complaint’s only reference to any kind of injury” was a single

sentence stating that the “defendants’ failure to comply with the TCPA’s requirements

‘caus[ed] Plaintiff and Plaintiff Class to sustain statutory damages, in addition to actual

damages, including but not limited to those contemplated by Congress and the [Federal



                                              -7-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 8 of 18




Communications Commission].’” Id. at *3. Understandably, the court concluded that

this vague and conclusory allegation was insufficient “to withstand dismissal at the

pleading stage.” Id. The court explicitly declined to decide whether a properly pled

“allegation[] of lost time and opportunity cost would be sufficient to establish standing

to assert a TCPA claim.” Id. at *4. Similarly, in Kostmayer Construction, LLC v. Port Pipe

& Tube, Inc., No. 2:16‐CV‐01012, 2016 WL 6143075 (W.D. La. Oct. 19, 2016), the same

attorneys who had inadequately pleaded standing in Sartin made the “same single

reference to damages” in their complaint. Again, the court dismissed the plaintiff’s

complaint for inadequate pleading. Id. at *2‐3.

       In sharp contrast to the vague single‐sentence allegations of harm in Sartin and

Kostmayer Construction, Sandusky’s amended complaint alleges that:

       Receiving the Defendants’ junk faxes caused the recipients to lose paper
       and toner consumed in the printing of the Defendants’ faxes. Moreover,
       the Defendants’ faxes used the Plaintiff’s fax machine. The Defendants’
       faxes cost the Plaintiff time, as the Plaintiff and its employees wasted their
       time receiving, reviewing and routing the Defendants’ illegal faxes. That
       time otherwise would have been spent on the Plaintiff’s business
       activities. The Defendants’ faxes unlawfully interrupted the Plaintiff’s
       and other class members’ privacy interests in being left alone.

ECF No. 174 ¶ 29. Obviously, Sandusky went far beyond merely alleging that it

“sustain[ed] statutory damages . . . [and] actual damages.” Sartin, 2016 WL 3598297, at

*3; Kostmayer, 2016 WL 6143075 at *2.




                                            -8-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 9 of 18




       The final case on which MedTox relies actually supports Sandusky, not MedTox.

In Supply Pro Sorbents, LLC v. Ringcentral, Inc., No. C 16‐02113, 2016 WL 5870111 (N.D.

Cal. Oct. 7, 2016), the court dismissed the plaintiff’s complaint because the plaintiff

failed to explain how it was injured by the defendant’s addition of a “single line

identifier on the optional cover sheet of a solicited four‐page fax.” Id. at *3 (emphasis

added). But in its order, the court also said that unsolicited faxes “may generally” harm

the recipient by wasting its paper, ink, and time, interrupting its privacy, tying up its

fax line, and “caus[ing] undue wear and tear on [its] fax machine[].” Id. Here,

Sandusky challenges MedTox’s sending of an unsolicited fax, and Sandusky alleges

precisely the types of harm that the Supply Pro court intimated would be sufficient to

establish standing. Compare id., with ECF No. 174 ¶¶ 11, 29.2

       In short, Sandusky’s allegation that MedTox’s violation of the TCPA disrupted

Sandusky’s business by tying up its fax line, wasted Sandusky’s paper and ink, and

wasted the time of Sandusky’s employees is sufficient to establish standing. The Court

therefore denies MedTox’s motion to dismiss.



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        MedTox also cites Duqum v. Scottrade, Inc., No. 4:15‐CV‐1537‐SPM, 2016 WL
3683001 (E.D. Mo. July 12, 2016) and Braitberg v. Charter Communications, Inc., 836 F.3d
925 (8th Cir. 2016), but these were both non‐TCPA cases that analyzed whether the
intangible injury experienced when personal data is lost or retained suffices to establish
Article III standing. These cases said nothing about whether the tangible injury
experienced by recipients when a fax is sent in violation of the TCPA suffices to
establish standing.

                                             -9-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 10 of 18




                               IV. CLASS CERTIFICATION

       Sandusky moves to certify a class of “[a]ll persons who (1) between February 18,

2012, and February 26, 2012, (2) were sent one or more of the 3,256 transmissions of the

telephone facsimile message attached as Exhibit A to the Complaint, which related to

lead testing services by or on behalf of MedTox.”3 Because this proposed class meets

the requirements of Rules 23(a) and 23(b)(3), the Court grants Sandusky’s motion for

class certification.

                                   A. Standard of Review

       The plaintiff bears the “burden of showing that the class should be certified

under Rule 23.” Day v. Celadon Trucking Servs., Inc., 827 F.3d 817, 830 (8th Cir. 2016) .

District judges have “broad discretion to decide whether” to certify a class. Id. (citation

omitted). But district courts must exercise that discretion within the standards set by

Rule 23, which requires a “rigorous analysis” to ensure that class certification is

warranted. Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 161 (1982).




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        MedTox proposed, and Sandusky agreed to, this definition of the class, although
MedTox preserved its opposition to any class being certified. The Court expresses its
appreciation to the parties for ironing out their differences regarding the definition of
the class.

                                            -10-
    CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 11 of 18




                                         B. Analysis

       For a class to be certified, it must meet all four4 criteria of Rule 23(a) and fall

within one of the three categories of Rule 23(b). In this case, Sandusky has moved for

class certification under subsection (b)(3), which adds two requirements to Rule 23(a)’s

four. The Court will address each of these six requirements in turn.

                               1. Rule 23(a)(1)—Numerosity

       The first requirement for class certification under Rule 23(a) is that “the class is

so numerous” that joining all of its members would be “impracticable.” Fed. R. Civ. P.

23(a)(1). Joining all 3,256 members of Sandusky’s proposed class would clearly be

impracticable. See In re Wholesale Grocery Prod. Antitrust Litig., No. 09‐MD‐2090

ADM/TNL, 2016 WL 4697338, at *7 (D. Minn. Sept. 7, 2016) (“The Eighth Circuit has

affirmed the certification of classes with as few as 20 members.”). MedTox does not

argue otherwise.

                              2. Rule 23(a)(2)—Commonality

       The second requirement for class certification under Rule 23(a) is that “questions

of law or fact” be “common to the class.” Fed. R. Civ. P. 23(a)(2). The Eighth Circuit


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        Some circuits have read a fifth requirement of “ascertainability” into Rule 23(a),
requiring the members of the proposed class to be “readily identifiable.” See Sandusky,
821 F.3d at 995‐96 (citing cases from eight other circuits). The Eighth Circuit generally
does not analyze “ascertainability as a separate, preliminary requirement,” but in any
event, the Eighth Circuit has already held that Sandusky’s proposed class “is clearly
ascertainable.” Id. at 996‐98.

                                             -11-
    CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 12 of 18




has already held that Sandusky’s proposed class meets this commonality requirement.

See Sandusky, 821 F.3d at 998. MedTox is foreclosed from relitigating this issue on

remand. See Thompson v. Comm’r, 821 F.3d 1008, 1011 (8th Cir. 2016) (“[W]hen a case has

been decided by an appellate court and remanded for further proceedings, every

question decided by the appellate court, whether expressly or by necessary implication,

is finally settled and determined, and the court on remand is bound by . . . the

mandate.”).

                               3. Rule 23(a)(3)—Typicality

       The third requirement for class certification under Rule 23(a) is that “the claims

. . . of the representative parties”—here, Sandusky—be “typical of the claims . . . of the

class.” Fed. R. Civ. P. 23(a)(3). MedTox argues that Sandusky’s claims are not typical of

the claims of the class because “Sandusky is a professional TCPA plaintiff,” and

Sandusky “collects large incentive payments as a result [of] its involvement with such

litigations.” ECF No. 236 at 32.

       The Court disagrees. Sandusky is not, in fact, a “professional plaintiff.” Rather,

Sandusky is a legitimate medical clinic, and Sandusky’s owner (Winnestaffer) is a

practicing chiropractor, not a full‐time plaintiff. Morever, even if Sandusky were a

“professional plaintiff” (whatever that means), Sandusky’s claims would still be typical

of the claims of the class. Sandusky received the same fax under the same



                                            -12-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 13 of 18




circumstances and is bringing the same claims under the same statute as the other

members of the class. Sandusky’s claims are clearly “typical of the claims . . . of the

class.” Fed. R. Civ. P. 23(a)(3).

                                4. Rule 23(a)(4)—Adequacy

       The fourth and final requirement for class certification under Rule 23(a) is that

“the representative parties will fairly and adequately protect the interests of the class.”

Fed. R. Civ. P. 23(a)(4). This means that both the named class representative (Sandusky)

and the proposed class counsel (Anderson + Wanca) must be willing and able to fairly

and adequately represent the proposed class. See Rattray v. Woodbury Cty., 614 F.3d 831,

835‐37 (8th Cir. 2010).

       With respect to the proposed counsel: Anderson + Wanca appears to be both

competent and experienced. It specializes in TCPA litigation. Reliable Money Order, Inc.

v. McKnight Sales Co., 704 F.3d 489, 491 (7th Cir. 2013). It has vigorously litigated this

case from the very beginning. And it has already defeated two motions to dismiss and

prevailed on one appeal to the Eighth Circuit. See ECF Nos. 25, 59, 221‐22.

       MedTox makes much of the fact that Anderson + Wanca—acting on Sandusky’s

behalf—rejected an offer of judgment in 2013. See ECF No. 177‐1 at 27‐29; ECF No. 236

at 23‐27. This offer of judgment would have capped MedTox’s total liability at $247,500,

inclusive of attorney’s fees. See ECF No. 177‐1 at 42‐45. MedTox claims that this offer



                                            -13-
    CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 14 of 18




was very generous to the putative class members and that, in rejecting this offer,

Anderson + Wanca’s put its own interests ahead of the interests of the class. ECF

No. 236 at 23‐27. For its part, Anderson + Wanca claims that MedTox’s offer of

judgment was insufficient “because it represent[ed] a recovery of between 5 and 15

cents on the dollar,” and any attorney’s fees should be based on “the amount made

claimable to the class” rather than the “amount actually claimed by the class.” ECF

No. 239 at 12‐13. The Court expresses no opinion on the merits of MedTox’s offer of

judgment, except to say that, in rejecting that offer, Anderson + Wanca did not

demonstrate that it is incapable of fairly and adequately representing the class.

      MedTox also points to two procedural mistakes that Anderson + Wanca made in

the course of litigating this case. See ECF No. 236 at 28‐29. First, Anderson + Wanca

filed an amended complaint several months late. But this was an inadvertent mistake

that Anderson + Wanca promptly corrected after the magistrate judge brought the

mistake to its attention. See ECF Nos. 173, 174. Second, Anderson + Wanca initially

filed a motion to strike instead of a timely opposition to MedTox’s motion to dismiss.

Judge Doty denied Anderson + Wanca’s request for permission to file an untimely

opposition to MedTox’s motion to dismiss. Ultimately, however, Judge Doty denied

MedTox’s motion to dismiss, and thus Anderson + Wanca’s error did not prejudice its

client(s). See ECF No. 59. These procedural errors do not reflect well on



                                           -14-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 15 of 18




Anderson + Wanca, but they are not serious enough to call into question

Anderson + Wanca’s ability to fairly and adequately represent the proposed class.

       With respect to the proposed class representative: The only issue that gives the Court

pause is whether Sandusky will fairly and adequately protect the interests of the class.

To date, Winnestaffer has shown little interest in or commitment to this litigation.

Among other omissions, he failed to personally appear at the last settlement conference

(he sent a nurse in his place rather than forego a day of vacation), and he appeared to be

completely unprepared for his deposition—to the point that he could not even testify

what the fax said. See Winnestaffer Dep. 74‐75, 137‐40. Given that Winnestaffer

appears to have little interest in protecting his own interests, the Court is hesitant to find

that he will protect the interests of the class.

       That said, the main focus of the adequacy inquiry is “to uncover conflicts of

interest between named parties and the class they seek to represent.” Amchem Prods.,

Inc. v. Windsor, 521 U.S. 591, 625 (1997). Winnestaffer does not have any kind of a

conflict with members of the class, and it is rare for a class representative who does not

have a conflict to be disqualified on grounds of adequacy. Moreover, TCPA cases are

not known for their legal or factual complexity, and thus there is generally not much for

a class representative to do. See Brown v. Rita’s Water Ice Franchise Co., No. CV 15‐3509,

2017 WL 1021025, at *8 (E.D. Pa. Mar. 16, 2017) (“TCPA litigation is neither challenging



                                              -15-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 16 of 18




nor complex.”). And finally, the current lead attorney for the proposed class—who

replaced the attorney who so poorly prepared Winnestaffer for his deposition—has

assured the Court that Winnestaffer will be actively involved and well prepared going

forward. See ECF No. 248 at 27 (“Your Honor, . . . if this case goes to trial and Dr.

Winnestaffer is called to testify, I am going to prep him personally.”).

       Although the question is close, the Court finds that Sandusky “will fairly and

adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). Sandusky is on

notice, however, that if Winnestaffer continues to show a lack of commitment to this

litigation, the Court will not hesitate to revisit this finding.

                              5. Rule 23(b)(3)—Predominance

       As noted, Sandusky has moved for class certification under Rule 23(b)(3). The

first requirement for class certification under Rule 23(b)(3) is that “questions of law or

fact common to class members predominate over any questions affecting only

individual members.” Fed. R. Civ. P. 23(b)(3). The Eighth Circuit has already held that

the proposed class action “meets the . . . predominance requirement[] of Rule 23.” See

Sandusky, 821 F.3d at 998.

                                6. Rule 23(b)(3)—Superiority

       The second requirement for class certification under Rule 23(b)(3) is that a class

action be “superior to other available methods for fairly and efficiently adjudicating the



                                              -16-
     CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 17 of 18




controversy.” Fed. R. Civ. P. 23(b)(3). This requirement is easily met in this case—as it

is most TCPA cases—“because the main questions [in a TCPA case], such as whether a

given fax is an advertisement” can usually be resolved in one stroke. Sandusky, 821 F.3d

at 998 (citation omitted). Moreover, a plaintiff in a TCPA case can usually recover little

in the way of damages. See St. Louis Heart Ctr., Inc. v. Vein Ctrs. For Excellence, Inc.,

No. 4:12 CV 174 CDP, 2013 WL 6498245, at *11 (E.D. Mo. Dec. 11, 2013) (noting, among

other things, that “the statutory damages available to each individual class member [in

TCPA cases] are small—at most $1500 per violation,” and the “court will only need to

apply federal law, not multiple state laws”). Litigating the claims of this putative class

in one federal action is far superior to forcing each of 3,256 putative class members to

research the TCPA, figure out how to file a lawsuit in small‐claims court, and then

litigate a TCPA action to a conclusion.

       Because Sandusky’s proposed class action meets the four requirements of

Rule 23(a) and the two requirements of Rule 23(b)(3), the Court grants Sandusky’s

renewed motion for class certification.

                                           ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED that:




                                             -17-
   CASE 0:12-cv-02066-PJS-HB Document 253 Filed 04/25/17 Page 18 of 18




     1.     Plaintiff’s renewed motion for class certification [ECF No. 229] is

            GRANTED, and the Court CERTIFIES a class of “[a]ll persons who

            (1) between February 18, 2012, and February 26, 2012, (2) were sent one or

            more of the 3,256 transmissions of the telephone facsimile message

            attached as Exhibit A to the Complaint, which related to lead testing

            services by or on behalf of MedTox.”

     2.     Defendant’s motion to dismiss [ECF No. 234] is DENIED.


Dated: April 25, 2017                       s/Patrick J. Schiltz
                                            Patrick J. Schiltz
                                            United States District Judge




                                         -18-
